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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

ANDRE D. REED, SR.,

              Plaintiff,

              v.                                             CASE NO. 22-3117-SAC

BILL ELDER, El Paso County
Sheriff, et al.,

              Defendants.

                               MEMORANDUM AND ORDER

       Plaintiff filed this pro se civil rights case under 42 U.S.C. § 1983. Plaintiff is detained at

the El Paso County Jail in Colorado Springs, Colorado (“EPCJ”). Plaintiff’s claims involve his

conditions at the EPCJ and his underlying criminal case in the El Paso County Court.

       The complaint identifies the defendants as: the El Paso County Sheriff’s Department and

the El Paso County Sheriff; the EPCJ and staff at the EPCJ; and the El Paso County Court and

judges. Plaintiff’s allegations in the complaint are based on incidents occurring in Colorado

Springs, Colorado.

       Under 28 U.S.C. § 1391(b):

              A civil action may be brought in –

              (1) a judicial district in which any defendant resides, if all
              defendants are residents of the State in which the district is located;

              (2) a judicial district in which a substantial part of the events or
              omissions giving rise to the claim occurred, or a substantial part of
              property that is the subject of the action is situated . . .

28 U.S.C. § 1391(b)(1)–(2).




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       Accordingly, venue is proper in Colorado under 28 U.S.C. § 1391(b). The Court directs

the Clerk of the Court to transfer this matter to the United States District Court for the District of

Colorado.

       IT IS THEREFORE ORDERED BY THE COURT that the Clerk of Court shall

transfer this action to the United States District Court for the District of Colorado.

       IT IS SO ORDERED.

       Dated June 15, 2022, in Topeka, Kansas.


                                               s/ Sam A. Crow
                                               SAM A. CROW
                                               Senior U. S. District Judge




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